                                       Kandies v. Branker 
                                             Exhibits 
                                                  
                                                  
    1. Affidavit of Catherine Grosso and Barbara O’Brien 
         
    2. State v. Kandies, Court Clerk Jury Seating Chart 
 
    3. Affidavit of Lillian Rawlinson  
 
    4. Affidavit of Barrie Wallace with Tab A, Criminal Records for Kinnecom, Mayberry, Glass, 
       Spivey, Furniss‐Rose, Summey, Cross, Seiver;  and Tab B, State v. Poindexter Jury 
       Selection Chart 
 
    5. Affidavit of Fred Campbell 
 
    6. State v. Kandies, Pre‐Trial Motions Transcript excerpt  
 
    7. State v. Trull, Jury Selection Transcript excerpt 
 
    8. Order, State v. Trull 
 
    9. Affidavit of Clark R. Bell  
 
    10. Affidavit of Frank Wells  
 
    11. Affidavit of C. Pierre Oldham 
 
    12. Affidavit of Richard Roose  
 
    13. State v. Johnston,  newspaper article 
 
    14. State v. Kandies, Chart of Venire Members  
          

     




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